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 1   BENJAMIN VAUGHN, DC Bar #999347
     E-mail: Benjamin.vaughn@cfpb.gov
 2   Phone: (202) 435-7964
     GABRIEL HOPKINS, NY Bar #5242300
 3   Email: Gabriel.hopkins@cfpb.gov
     Phone: (202) 435-7842
 4   1700 G Street, NW
     Washington, DC 20552
 5   Fax: (202) 435-7722
 6 LEANNE E. HARTMANN, CA Bar #264787 - Local Counsel
   E-mail: Leanne.hartmann@cfpb.gov
 7 301 Howard St., Suite 1200
   San Francisco, CA 94105
 8 Phone: (415) 844-9787
   Fax: (415) 844-9788
 9
   Attorneys for Plaintiff
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11
                          UNITED STATES DISTRICT COURT
12                       CENTRAL DISTRICT OF CALIFORNIA
13
     Bureau of Consumer Financial Protection, )
14                                            ) Case No.: 2:19−cv−07722 ODW (JEMx)
                  Plaintiff,                  )
15                                            ) OPPOSITION TO MOTION TO STAY
            vs.                               ) PROCEEDINGS
16                                            )
     Certified Forensic Loan Auditors, LLC; )
17   Andrew Lehman; and Michael Carrigan, )
                                              )
18                Defendants.                 )
                                              )
19
20         Plaintiff Consumer Financial Protection Bureau filed this action to address
21   serious ongoing violations of the Consumer Financial Protection Act (CFPA), 12
22   U.S.C. §§ 5531, 5536(a), as well as Regulation O, 12 C.F.R. pt. 1015, which governs
23 mortgage-relief services that purport to help homeowners facing foreclosure.
24 Defendants Certified Forensic Loan Auditors, LLC, and Andrew Lehman
25 (collectively, “Defendants”) have now moved to stay all proceedings in this case for
26 the seven months or more it may take the Supreme Court to decide a different case
27 involving the constitutionality of a provision in the CFPA that limits the grounds on
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 1   which the Bureau’s Director can be removed to “inefficiency, neglect of duty, or
 2   malfeasance in office,” 12 U.S.C. § 5491(c)(3). See Seila Law LLC v. CFPB, No. 19-
 3   7 (U.S.).
 4         This Court should deny that motion. No good purpose would be served by the
 5   lengthy delay that Defendants seek because the Supreme Court’s decision in Seila
 6   Law is unlikely to dispose of the Bureau’s claims here. A stay would also injure the
 7   Bureau and the public interest by preventing the parties from beginning discovery
 8   and, ultimately, delaying the just resolution of this matter and the adjudication of the
 9   Bureau’s claims for relief on behalf of consumers, including injunctive relief that it
10   intends to seek. A stay would also risk exposing consumers to additional injury from
11   Defendants’ ongoing illegal practices. For their part, Defendants will suffer no harm
12   if their motion is denied beyond the ordinary cost of litigation, which the Ninth
13   Circuit has held is not enough to justify a stay. Finally, denying a stay in this case
14   while deferring final resolution of Defendants’ constitutional argument would be
15   entirely consistent with the decisions of other courts that have also deferred final
16   resolution of the constitutional issue.
17         If the Court is inclined to grant a stay, however, it should at least give the
18   Bureau the opportunity to seek a preliminary injunction in order to prevent further
19   consumer harm while this matter is stayed.
20                                   LEGAL STANDARD
21         “A district court has discretionary power to stay proceedings in its own court.”
22   Lockyer v. Mirant Corp., 398 F.3d 1098, 1109 (9th Cir. 2005). Among the factors
23   that courts weigh in deciding whether to issue a stay are: “[1] the possible damage
24   which may result from the granting of a stay, [2] the hardship or inequity which a
25   party may suffer in being required to go forward, and [3] the orderly course of justice
26   measured in terms of the simplifying or complicating of issues, proof, and questions
27   of law.” Id. at 1110.
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 1         The moving party “must make out a clear case of hardship or inequity” from
 2   being denied a stay “if there is even a fair possibility that the stay for which he prays
 3   will work damage to some one else.” Landis v. North American Co., 299 U.S. 248,
 4 255 (1936). “[B]eing required to defend a suit, without more, does not constitute a
 5   ‘clear case of hardship or inequity’ within the meaning of Landis.” Lockyer, 398
 6 F.3d at 1112.
 7                                        ARGUMENT
 8 I.      The Supreme Court’s Decision in Seila Law Is Not Likely to Dispose of
 9         the Bureau’s Claims in This Case
10         Whatever the Supreme Court decides about the constitutionality of the
11 CFPA’s removal provision is unlikely to preclude this case from moving forward.
12 There is thus no need for this Court to stay proceedings in their entirety until the
13 Supreme Court issues its decision—particularly given that, as described below, the
14 balance of equities in this case decisively favors this action moving forward in the
15 meantime.
16         The challenger in Seila Law argues that the Bureau’s structure violates the
17 Constitution because the Bureau exercises significant executive authority and is
18 headed by a single Director, yet the President’s authority to remove that Director is
19 limited by statute. The Bureau agrees that this restriction on the President’s removal
20 power violates the Constitution. But whether or not the Supreme Court adopts that
21 view in Seila Law, its decision is unlikely to require dismissal of this action
22 (assuming that Defendants renew their constitutional argument in response to the
23 Bureau’s First Amended Complaint, ECF No. 29). Cf. Prime Healthcare Servs.-San
24 Dimas, LLC v. Price, No. 2:16-cv-08101-ODW, 2017 WL 10581094, at *3 (C.D.
25 Cal. June 29, 2017) (denying motion for stay that was premised on other ongoing
26 cases that the Court concluded would not “necessarily dispose of the claims here”).
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 1          If the Supreme Court concludes that the removal provision is constitutional,
 2 that is of course no obstacle to the Bureau seeking relief in this case. And if the
 3 Court holds the provision invalid, that is unlikely to pose an obstacle to the Bureau’s
 4 maintenance of this suit, either, because the Supreme Court’s precedent in recent
 5 comparable cases, as well as the express language of the statute here, call for simply
 6   severing the provision from the CFPA while leaving the rest of the statute in place.
 7   That is what the Supreme Court did in 2010 when it last confronted an
 8   unconstitutional removal restriction (with no justice disagreeing that severance
 9   would be the appropriate remedy). See Free Enter. Fund v. Pub. Co. Accounting
10   Oversight Bd., 561 U.S. 477, 508-10 (2010). And that is what Congress provided for
11   here by including an express severability clause in the statute stating that “[i]f any
12   provision of this Act … is held to be unconstitutional, the remainder of this Act …
13   shall not be affected thereby.” 12 U.S.C. § 5302. Indeed, one justice already reached
14   this conclusion with respect to the Bureau: While on the D.C. Circuit, then-Judge
15   Kavanaugh concluded that the CFPA’s removal restriction is unconstitutional
16   (disagreeing with a majority of the en banc D.C. Circuit on that point) but indicated
17   that the appropriate remedy would be to sever it and allow the Bureau to “continue to
18   operate … as an executive agency.” PHH Corp. v. CFPB, 881 F.3d 75, 200 (2018)
19   (en banc) (Kavanaugh, J., dissenting).
20          With the removal provision severed, the Bureau should then be given the
21   opportunity to choose to ratify this action as necessary. Assuming that the Bureau
22   determined that it was appropriate to do so, the case could then carry on with the
23 Bureau headed by a Director who is removable at will by the President. See FEC v.
24   Legi-Tech, Inc., 75 F.3d 704, 708 (D.C. Cir. 1996) (dismissal of agency enforcement
25 action was “neither necessary nor appropriate” after court severed unconstitutional
26 statutory provision and agency ratified its decision to file suit); cf. Collins v.
27 Mnuchin, 938 F.3d 553 (5th Cir. 2019) (en banc) (any “ongoing injury” to plaintiffs
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 1   challenging the constitutionality of another independent agency headed by a single
 2   person “is remedied by a declaration that the ‘for cause’ restriction is declared
 3   removed”).
 4          Because there is little chance that Seila Law will dispose of the Bureau’s
 5   claims in this case, this Court should simply defer decision on Defendants’
 6   constitutional argument (again, assuming that they renew it) while allowing the
 7   parties to proceed toward discovery in the meantime. 1 See, e.g., Fed. R. Civ. P.
 8   12(a)(4)(A), (i) (district court may postpone resolution of defenses raised on Rule 12
 9   motion up until trial). This approach would be especially prudent here in light of the
10   balance of equities, which tilts definitively against a stay of all proceedings.
11 II.      Halting All Proceedings in This Case for Months Would Harm the
12          Bureau and the Public Interest
13          The Bureau is the primary enforcer of federal consumer financial laws. See,
14 e.g., 12 U.S.C. § 5511(a). It filed this action to address serious violations of the
15 CFPA’s prohibition on deceptive and abusive practices, id. §§ 5531, 5536, as well as
16 Regulation O’s provisions meant to protect often-desperate homeowners who are
17 seeking help to avoid foreclosure, 12 C.F.R. pt. 1015. The Bureau has reason to
18 believe that the violations at issue here are ongoing and is seeking injunctive relief.
19          Halting all proceedings in this case for the seven months or more it may take
20   for a decision in Seila Law would harm both the Bureau’s interests and the public
21   interest. It can hardly be doubted that “the public has a strong interest in vigorous
22
     1   Defendants’ constitutional argument is contrary to a decision of this Circuit. See CFPB v. Seila
23   Law LLC, 923 F.3d 680, 683 (9th Cir. 2019) (holding that “the CFPB’s structure is constitutionally
     permissible”), cert. granted, No. 19-7 (2019). The Bureau now disagrees with the reasoning of the
24   Court of Appeals in that decision, and the Supreme Court has granted certiorari to review it, but the
25   existence of current circuit precedent foreclosing Defendants’ argument hardly counsels in favor of
     granting a stay that is, in any event, contrary to the public interest. Cf. In re Zermeno-Gomez, 868
26   F.3d 1048, 1052 (9th Cir. 2017) (decision of the court of appeals remains “binding authority
     ‘which must be followed unless and until overruled by a body competent to do so.’”) (quoting
27   Gonzalez v. Arizona, 677 F.3d 383, 389 n.4 (9th Cir. 2012) (en banc)).
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 1   enforcement of consumer protection laws.” John Doe Co. v. CFPB, 235 F. Supp. 3d
 2   194, 205 (D.D.C. 2017), aff’d, 849 F.3d 1129 (D.C. Cir.). More particularly, both the
 3   Bureau and consumers have a strong interest in moving this case forward to
 4   discovery so that the relevant facts can be assembled while evidence remains fresh
 5   and, ultimately, so that the matter may reach final resolution expeditiously. 2
 6          The stay sought by Defendants would harm these important interests. It would
 7 mean more time in which Defendants are not subject to the injunctive relief that the
 8 Bureau seeks for the public’s protection. (This case is a world away from one in
 9 which the plaintiff is seeking only money damages for itself, cf. Lockyer v. Mirant
10 Corp., 398 F.3d 1098, 1110 (9th Cir. 2005) (refusing to overturn stay where plaintiff
11 was seeking “only damages” and had “alleged no continuing harm and sought no
12 injunctive or declaratory relief”)). It would mean more time in which Defendants’
13 assets may be depleted. And it would mean consumers would have to wait longer for
14 any redress they may be entitled to receive if and when the Court enters judgment in
15 the Bureau’s favor. Moreover, because delay “inherently increases the risk that
16 witnesses’ memories will fade and evidence will become stale,” Blue Cross & Blue
17 Shield of Ala. v. Unity Outpatient Surgery Ctr., 490 F.3d 718, 724 (9th Cir. 2007)
18 (internal quotations omitted), a stay could make it harder down the road for the
19 Bureau to secure any relief for consumers. All this for a decision in Seila Law that,
20 again, is unlikely to dispose of the Bureau’s claims here.
21 III.     Defendants Will Not Be Harmed by This Case Proceeding to Discovery
22          Because there is, at minimum, a “fair possibility” that the stay Defendants
23 seek “will work damage to some one else,” Defendants “must make out a clear case
24
25
26   2    Defendants grossly misstate the facts when they claim that the Bureau received evidence from
     CFLA nearly four years ago and “sat idle” for years. Mot. at 7, 10. In reality, the Bureau sent its
27   first investigative subpoena to CFLA in August 2017 and has worked diligently to advance its
     investigation every step of the way.
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 1   of hardship or inequity” from this litigation moving forward in order to secure a stay.
 2   Landis, 299 U.S. at 255. Defendants cannot make that showing.
 3         Defendants’ primary claim of hardship is that the denial of a stay would work
 4   “a huge constitutional deprivation of liberties” because the CFPA’s removal
 5   provision is unconstitutional. Mot. at 7. But even if the Supreme Court were to agree
 6   that the provision is invalid, the most appropriate remedy for that unconstitutional
 7   limitation—severing the removal provision—is, for the reasons already discussed,
 8   unlikely to result in dismissal of the Bureau’s claims.
 9         Defendants also complain that they will “incur further legal expenses and
10   costs” from litigation if their request is denied. Mot. at 8. But that will always be the
11   case when a party is denied a stay. Accordingly, the Ninth Circuit has already held
12   that “being required to defend a suit, without more, does not constitute a ‘clear case
13   of hardship or inequity’ within the meaning of Landis” that would justify a stay.
14   Lockyer, 398 F.3d at 1112. What’s more, because it is unlikely that the Supreme
15 Court’s decision in Seila Law will warrant dismissal of the Bureau’s claims here,
16 Defendants will likely incur the costs of continued litigation whether or not their
17 request is denied.
18 IV.     Allowing This Case to Proceed While Deferring Final Resolution of the
19         Constitutional Issue Is Entirely Consistent With Other Courts’ Decisions
20         to Defer Final Resolution of the Constitutional Issue
21         Finally, Defendants err in suggesting that there would be any inconsistency
22 between the Court denying a stay in this case and the decisions by two courts of
23 appeals to defer their consideration of the constitutional claim at issue in Seila Law.
24 See Mot. at 10-11. In both of those cases, the courts of appeals were being asked to
25 resolve the constitutional challenge to the CFPA’s removal provision, and they
26 appropriately decided to defer doing so until the Supreme Court issues its decision in
27 Seila Law. See Order, CFPB v. Cashcall Inc., No. 18-55407 (9th Cir., Oct. 21,
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 1   2019); Order, CFPB v. RD Legal Funding, LLC, No. 18-2743 (2d Cir., Nov. 5,
 2   2019). It would be equally appropriate, as well as consistent with those other
 3   decisions, for this Court to defer final resolution of Defendants’ constitutional
 4   argument. Doing so would not, however, support putting any other aspect of this
 5   litigation on hold in the interim.
 6                                        CONCLUSION
 7                For the foregoing reasons, the Court should deny Defendants’ Motion to
 8   Stay and instead simply apply the decision in Seila Law when it is handed down
 9   while, in the meantime, allowing this case to proceed in the ordinary course. In the
10   event the Court were to conclude instead that a stay is warranted, it should first give
11   the Bureau a chance to seek a preliminary injunction.
12
     Dated: November 18, 2019                 /s/ Benjamin Vaughn
13                                            Leanne E. Hartmann
                                              Benjamin Vaughn (pro hac vice)
14                                            Gabriel Hopkins (pro hac vice)
15                                            Consumer Financial Protection Bureau
                                              1700 G Street, NW
16                                            Washington, DC 20552
17                                            Attorneys for Plaintiff
                                              Consumer Financial Protection Bureau
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 1                              CERTIFICATE OF SERVICE
 2         I, Benjamin Vaughn, hereby certify that the foregoing Opposition to
 3 Defendants’ Motion to Stay was served electronically on the parties via the Court’s
 4 electronic filing system.
 5                                            /s/ Benjamin Vaughn
                                              Benjamin Vaughn (pro hac vice)
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